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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA

In re:                                                         Case Number: 14-11269-RAM
Angelica Aguilar,                                              Chapter 13

Debtor.


MOTION TO COMPEL DEUTSCHE BANK NATIONAL TRUST CO. TO TURN OVER
     FUNDS AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

          COMES NOW, Nancy K. Neidich, Standing Chapter 13 Trustee ("Trustee"), by and

through the undersigned counsel and moves this Honorable Court to compel Deutsche Bank

National Trust Co. to turn over $7,560.75 to the Trustee and as grounds therefore states:

          1.   The Trustee remitted to Deutsche Bank National Trust Co. an over disbursement of

               $7,560.75

          2.   On January 26, 2018, the Trustee sent Deutsche Bank National Trust Co. via

               certified mail, a demand letter requesting the $7,560.75 over payment be returned; a

               letter which was received on January 29, 2018. See exhibit B -United States

               Certified Tracking confirmation and letter mailed by the Trustee.

          3.   The Trustee respectfully requests the Court enter an order compelling Deutsche

               Bank National Trust Co. to return the $7,560.75 over payment so that the Trustee

               may close the instant case.

          WHEREFORE, for the above reasons, the Trustee respectfully requests this Honorable

Court enter an order compelling Deutsche Bank National Trust Co. to return the $7,560.75 over

payment so that the Trustee may close the instant case and further relief as may be just and

proper.


                                                        Respectfully submitted:
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                                                 NANCY K. NEIDICH,
                                                 Standing C   pter 13 Trustee

                                      By:
                                                           CORTEZ-RODRIGUEZ, ESQ.
                                                           BAR NO: 0091727
                                                           279806



                             CERTIFICATE OF SERVICE
      I CERTIFY that the forgoing has been served by CMECF notices of electronic filing on
Debtor's counsel on Mf\'i 13' 1 1.o 18           and:

By First Class U.S. Mail to:

Deutsche Bank N .A.
c/o Ocwen Loan Servicing, LLC
Attn: Bankruptcy Department
PO Box 24605
West Palm Beach, FL 33416

CT CORPORATION SYSTEM
c/o Deutsche Bank National Trust Company
1200 S. PINE ISLAND ROAD
PLANTATION, FL 33324

Deutsche Bank National Trust Company
Attn: Christian Sewing, CEO
60 WALL STREET
NEW YORK, NY 10005
Certified Mail No.: 7015 3010 0000 8644 5503
       7015 3010 DODO 8644 5503
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OFFICE OF THE CHAPTER                     13 STANDING TRUSTEE
SOUTHERN DISTRICT OF FLORIDA


                                                                           NANCY K. NEIDICH, TRUSTEE
                                                                                        P.O. Box 279806
                                                                                 Miramar, Florida 33027
                                                                                          (954) 443-4402
                                                                               Facsimile: (954) 443-4452

January 26, 2018

VIA CERTIFIED MAIL #7015 3010 0000 8653 0841
Deutsche Bank National Trust Company
c/o Ocwen Loan Servicing, LLC
ATTN: Bankruptcy Department
PO Box 24605
West Palm Beach, FL 33416-4605

RE:     Angelica Aguilar
        Case No.: 14-11269-RAM

Dear Deutsche Bank National Trust Company:

In connection with an audit of the above-referenced Chapter 13 file, I have found that this office
inadvertently disbursed to your company an over disbursement of $7,560.75. Therefore, the over-
disbursement of $7,560.75 must be returned to this office. Please mail the refund check to Nancy K.
Neidich Trustee, PO Box 278783, Miramar, FL 33027-8783.

             ACCOUNT NO:                             OVERPAYMENT AMOUNT:
              6598                                         $7,560.75

Please remit $7,560.75 to the Trustee's office within twenty (20) days of this notice. This will allow us to
properly administer the case and provide that all creditors receive the proper amount.

Thank you for your anticipated cooperation. If you have any questions, please contact this office.

Sincerely,
OFFICE OF THE CHAPTER 13 STANDING TRUSTEE



Nancy K. Neidich, Trustee
Re: Clerk Cl #9 TT Cl #1
5/16/2018                                                    USPS.com® - USPS Tracking® Results
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            ALERT: AS OF APRIL 30, USPS.COM NO LONGER SUPPORTS OUTDATED BROWSERS. TO C •.•


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   BEACH, FL 33416.




    ~Delivered
   January 29, 2018 at 5:57 am
   Delivered, Individual Picked Up at Postal Facility
   WEST PALM BEACH, FL 33416




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